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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     GERROD HERNDON,                                 Case No. 22-cv-01618-SI
                                   8                   Plaintiff,
                                                                                         JUDGMENT
                                   9             v.

                                  10     MENTAL HEALTH OF MARIN CO., et
                                         al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                              On May 31, 2022, the Court dismissed plaintiff’s case without prejudice for failure to
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                                       prosecute. Dkt. No. 12. Judgment is entered accordingly.
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                                              IT IS SO ORDERED AND ADJUDGED.
                                  17
                                       Dated: May 31, 2022
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                                                                                     ______________________________________
                                  19                                                 SUSAN ILLSTON
                                                                                     United States District Judge
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